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                                                     USA

                                                     vs.

                                          CHRISTOPHER HASSON


Criminal # GJH-19-0096                                                        Defendant’s Exhibits



  Exhibit No.            Identification   Admitted     Witness                 Description

           1                  9/9/19       9/9/19       Gary       Application to make and register
                                                       Schaible    firearm
           2                  9/9/19       9/9/19       Gary       Application for tax paid transfer
                                                       Schaible    registration of firearm
           3                 9/9/2019     9/9/2019         N/A     Binder with cited source materials
           4                 9/9/2019     9/9/2019   Ted Clutter   Number of registered silencers in the
                                                                   U.S. 2010-2018




Exhibit List (Rev. 3/1999)
